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 8                            UNITED STATES DISTRICT COURT
 9                          SOUTHERN DISTRICT OF CALIFORNIA
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11   CRYSTAL HILSLEY, et al.,                            Case No.: 3:18-cv-00395-L-BLM
12                                     Plaintiffs,
                                                         CLASS ACTION
13   v.
                                                         ORDER DENYING JOINT MOTION
14   GENERAL MILLS, INC. et al.,
15                                   Defendants.         [ECF No. 80]
16
17         Pending before the Court is Joint Motion to Extend Time to File Preliminary
18   Approval Motion. (“Joint Motion,” ECF No. 80.) The parties request that the due date
19   for filing a renewed motion for preliminary approval of class action settlement be
20   extended from July 18, 2022, to September 8, 2022. The Joint Motion is denied for
21   failure to show good cause as required by Rule 6(b) of the Federal Rules of Civil
22   Procedure.
23         The parties represent that they scheduled a mediation for August 25, 2022, “the
24   earliest mutually available date.” (Joint Motion at 2.) They did not specify the earliest
25   date the mediator is available, and, if the mediator is available prior to August 25, 2022,
26   did not state why they are not available to mediate on the earlier date. Further, the parties
27   request two weeks to draft the motion after the mediation date. Given that any further
28   renewed motion for preliminary approval would be their third attempt, the parties should

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 1   provide a reason for requesting a two-week delay after mediation to draft the renewed
 2   motion.
 3         IT IS SO ORDERED.
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 5   Dated: July 1, 2022
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